          Case 1:19-cr-10081-IT Document 156 Filed 04/18/19 Page 1 of 4



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )   Criminal No. 19-CR-10081
                                    )
(1)   GORDON ERNST,                 )
(2)   DONNA HEINEL,                 )
(3)   LAURA JANKE,                  )
(4)   ALI KHOSROSHAHIN,             )
(5)   STEVEN MASERA,                )
(6)   MIKAELA SANFORD,              )
(7)   MARTIN FOX,                   )
(8)   IGOR DVORSKIY,                )
(9)   LISA “NIKI” WILLIAMS,         )
(10) WILLIAM FERGUSON,              )
(11) JORGE SALCEDO, and             )
(12) JOVAN VAVIC,                   )
                                    )
                  Defendants.       )
____________________________________)


         DONNA HEINEL JOINDER IN OBJECTIONS AND OPPOSITION TO
             GOVERNMENT MOTION FOR A PROTECTIVE ORDER

       Please take notice that Donna Heinel hereby joins in Defendants Ernst, Khosroshahin,

Sanford, Dvorskiy, Williams, Ferguson, and Salcedo’s Objections to Government’s Motion for a

Protective Order (Dkt. No. 153) (“Objection 1”), and Defendant Vavic’s Opposition to the

Government’s Motion for a Protective Order (Dkt. No. 155) (“Objection 2”) which jointly seek to

modify the protective order proposed by the Government. (Dkt. No. 145).

       Ms. Heinel joins in Objection 1 and Objection 2, the arguments presented, and the relief

sought on all grounds set forth therein and reserves her right to present such further evidence,

authorities and argument as the Court may permit in support of the Objections, as part of any reply

that may be filed in support of the Objections, and/or at the hearing on the Government’s Motion

and the Defendants’ Objections.
            Case 1:19-cr-10081-IT Document 156 Filed 04/18/19 Page 2 of 4




        A. The Government’s Blanket Protective Order is Overly Broad and Significantly

             Interferes with the Attorney-Client Relationship

        Ms. Heinel further contends that the government’s proposed protective order is overly

broad and is in no way tailored to balance the government’s interests with the defendants’ right to

discovery. Such an approach is disfavored by courts and associations throughout the country. The

American Bar Association, for instance, has abandoned its blanket protective order rule “because

the restriction unduly hampers the attorney’s ability to prepare his or her case, which may require

providing discovery materials to investigators, experts, consultants, or others in addition to the
attorney himself or herself.” AMERICAN BAR ASSOCIATION STANDARDS                      FOR   CRIMINAL JUSTICE

DISCOVERY AND TRIAL BY JURY STANDARD 11-6.4, COMMENTARY (3D ED. 1996). 1 See also, San

Josey Mercury News, Inc. v. U.S. Dist. Court-Northern Dist. (San Jose), 187 F.3d 1096, 1103 (9th

Cir. 1999) (blanket protective “orders are inherently subject to challenge and modification, as the

party resisting disclosure generally has not made a particularized showing of good cause with

respect to any individual document”); United States v. Bulger, 283 F.R.D. 46, 54 (D. Mass. 2012)

(finding it “difficult to fathom” that all of the documents produced were “sensitive, confidential,

[] or otherwise suitable and appropriate for continued protection); United States ex rel. Franklin v.

Parke-Davis, 210 F.R.D. 257, 261 (D. Mass. 2002) (“Parties operating under a blanket protective

order [] cannot rely on an unreasonable expectation that such an order will never be altered.”)

        The government has stated that it will be disclosing 130 gigabytes of discovery in its first

production. Counsel has an ethical obligation to inform and consult with her client. See, e.g., R.

Prof. C. 1.2 and 1.4. Expecting counsel to chaperone her client while she culls through 130

gigabytes of discovery is not only a waste of resources but pilfers away valuable time and resources

from discussing the actual merits of the case and thus significantly interferes with the attorney-

client relationship. See generally, Strickland v. Washington, 466 U.S. 668 (1984) (lawyer as



1
 Vermont amended its rule following the American Bar Association’s change and Washington amended its rule
because it was “cumbersome and, probably, ineffectual.” Vermont R. Crim. P. 16.2, Wash. Super. Ct. Crim R. 4.7,
Comment (1986).

                                                       2
           Case 1:19-cr-10081-IT Document 156 Filed 04/18/19 Page 3 of 4




assistant to the defendant, duty to advocate, consult on important decisions, keep informed of

important developments); Morris v. Slappy, 461 U.S. 1 (1983) (need to consult with defendant on

wide range of subjects, attorney and client need relationship of trust and confidence).

       The government advanced one central concern necessitating its protective order in an April

15, 2019 meeting with counsel for Ms. Heinel and the government. That concern was that one of

the defendants would leak video footage of celebrities Felicity Huffman and/or Lori Loughlin’s

home to the press. This laughably cannot qualify as a reason to deny Ms. Heinel, a 58-year-old

woman with no criminal history who stands accused of a non-violent, white-collar offense, her
rightful access to discovery. See e.g., Fed. R. Crim. P. 16(d) Advisory Committee’s Note to 1966

Amendment to Former Subdiv. (e) (“among the considerations to be taken into account by the

court [when determining whether to grant a protective order] will be the safety of witnesses and

others, a particular danger of perjury or witness intimidation, [and] the protection of information

vital to national security); United States v. Dixon, 355 F. Supp. 3d 1, 4 (D.D.C. 2019) (in weighing

the needs of a protective order against any prejudice to the defendant, “the Court considers two

factors – the nature and circumstances of the alleged crime and the Defendant’s criminal history”);

Commonwealth v. Holliday, 450 Mass. 794, 802-03 (2008) (limits on pretrial discovery permitted

as long as they do not deny defendant his right to effective assistance of counsel). Neither the

government’s position set forth in its Motion (Dkt. No. 145) nor in its April 15, 2019 meeting with

counsel are sufficient to support a blanket protective order.

       B. Conclusion

       For the reasons set forth above, in addition to the reasons advanced in both Objections 1

and 2, Ms. Heinel respectfully requests that the Court deny the broad order sought by the

government and accept the more appropriately tailored protective order proposed by the

defendants in Objection 1.

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          Case 1:19-cr-10081-IT Document 156 Filed 04/18/19 Page 4 of 4



Dated: April 18, 2019                         Respectfully submitted,


                                                /s/ Nina Marino__________   ____
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on April 18, 2019.


                                               /s/ Nina Marino__________
                                              NINA MARINO




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